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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA         :
                                 :
     v.                          :     Crim. No. 3:99cr264(AHN)
                                 :
LUKE JONES                       :


                   RULING ON MOTION FOR NEW TRIAL

     Now pending before the court is Luke Jones's ("Jones") pro

se motion for a new trial [doc. # 2110].         For the reasons

discussed below, the motion is denied.

                  FACTS AND PROCEDURAL BACKGROUND1

     Jones was the leader of a violent drug trafficking

enterprise that operated in and around the P.T. Barnum Housing

Project in Bridgeport, Connecticut.         On October 30, 2003, a jury

convicted him of one count of conducting an enterprise through a

pattern of racketeering activity, in violation of the Racketeer

Influenced and Corrupt Organizations Act ("RICO"), 18 U.S.C. §

1962(c); one count of RICO conspiracy, in violation of 18 U.S.C.

§ 1962(d); two counts of conspiracy to distribute and to possess

with intent to distribute narcotics, in violation of 21 U.S.C. §

846; and two counts of conspiracy to commit violent crimes in aid

of racketeering, in violation of 18 U.S.C. § 1959(a)(5).

     The court sentenced Jones to concurrent life sentences on


     1
        The court assumes the parties' familiarity with the
underlying facts and procedural history and will only relate
those facts necessary to address the issues raised by this
motion.
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the racketeering, racketeering conspiracy, and two drug

conspiracy charges, and two concurrent 10-year sentences on the

two VICAR conspiracy charges.     On appeal, the Second Circuit

upheld Jones's conviction on all counts.2

     Jones now moves for a new trial under Fed. R. Crim. P. 33

based on newly discovered evidence.

                                STANDARD

     Under Rule 33(a), the court "may vacate any judgment and

grant a new trial if the interest of justice so requires."

Although the court has broad discretion in considering a motion

for a new trial, it should exercise its authority under Rule 33

"sparingly and in the most extraordinary circumstances."            United

States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 2001) (quoting

United States v. Sanchez, 969 F.2d 1409, 1414 (2d Cir. 1992)).

In considering this motion, the court must "defer to the jury's

resolution of conflicting evidence and assessment of witness

credibility," and therefore, "[i]t is only where exceptional

circumstances can be demonstrated that the trial judge may

intrude upon the jury function of credibility assessment."             Id.

at 133-34 (quoting Sanchez, 969 F.2d at 1414).          "The ultimate


     2
        The Second Circuit, however, withheld its ruling on his
sentence to allow this court to consider under United States v.
Booker, 543 U.S. 220, 224, 259 (2005), and United States v.
Crosby, 397 F.3d 103, 117 (2d Cir. 2005), whether it would have
imposed a nontrivially different sentence under an advisory
Sentencing Guidelines regime. On remand, the court declined to
resentence Jones. That ruling is currently on appeal.

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test . . . is whether letting a guilty verdict stand would be a

manifest injustice."    Id. at 133.       There must be a real concern

that an innocent person may have been convicted.               See id.   The

defendant bears the burden of persuading the court that a new

trial is necessary and appropriate.          United States v. Sasso, 59

F.3d 341, 350 (2d Cir. 1995).

     A Rule 33 motion must be filed within seven days of the

verdict, or if based on newly discovered evidence, within three

years of the verdict.       Fed. R. Crim. P. 33(b); see United States

v. McCarthy, 271 F.3d 387, 399 (2d Cir. 2001).

                                DISCUSSION

     Jones claims that newly discovered evidence relating to the

trial testimony of Frank Estrada ("Estrada"), a cooperating

witness and leader of another drug-trafficking organization

operating in P.T. Barnum, warrants a new trial because: (1) a

post-trial affidavit from Estrada's co-defendant in a separate

case impeaches the testimony Estrada gave at Jones's trial

regarding Estrada's involvement in an unrelated murder; (2) the

government failed to disclose Estrada's prior testimony from

another trial, which Jones could have used to impeach Estrada;

and (3) the same prior testimony demonstrates that Estrada

perjured himself at Jones's trial.




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     I.   Post-Trial Affidavit Impeaching Estrada

     Jones first argues that the affidavit of Eddie Mercado

("Mercado") constitutes newly discovered evidence warranting a

new trial because it impeaches Estrada's trial testimony about

his involvement in the murder of Ada Escalara ("Escalara").

Mercado testifies that Estrada asked him to kill Escalara because

she witnessed Estrada murder Ralph Green, who was bothering

Estrada's sister.   At Jones's trial, however, Estrada testified

that he asked Mercado to kill Escalara because she was a witness

in a case involving Estrada's attorney.       Mercado, despite being

convicted of the VICAR murder of Escalara on December 1, 2005 and

sentenced to a mandatory lifetime term of imprisonment, see

United States v. Mercado, 3:04-CR-166(SRU), further testified

that he declined to kill Escalara and that Estrada, himself,

eventually carried out the killing.

     The government contends that Mercado's testimony is not

"newly discovered" because, regardless of Estrada's motive for

ordering Escalara killed, Estrada testified extensively at

Jones's trial that he ordered the murder.        The government,

therefore, contends that Jones's motion is untimely because it

was not filed within seven days after the verdict as required by

Fed. R. Crim. P. 33.    The court agrees.

     Where a defendant requests a new trial based on newly

discovered evidence, he must file the motion within three years


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of the verdict.   Fed. R. Crim. P. 33(a).       Otherwise, if the

defendant moves on any other grounds, "he must do so within seven

days after the verdict or within such further time the district

court sets."   United States v. McCarthy, 271 F.3d 387, 399 (2d

Cir. 2001); United States v. Bramlett, 116 F.3d 1403, 1405 (11th

Cir. 1997) (stating that "[t]he time limits imposed by Rule 33

are jurisdictional" and "District Courts therefore lack

jurisdiction to grant a new trial unless the motion is [timely]

filed").

     Here, the jury returned its verdict on October 30, 2003.

Jones did not move to extend the seven-day filing period and

instead filed this motion for a new trial three years later, on

October 31, 2006.   Therefore, Jones's motion would be timely only

if the Mercado affidavit is "newly discovered" evidence.

     As the government points out, however, information linking

Estrada to the Escalara murder cannot be "newly discovered"

because Estrada testified at Jones's trial regarding his

involvement in that murder:

           Q. Sir, did there come a time when you became
           involved in a scheme to murder a witness,3
           someone who was a witness in connection with a
           criminal proceeding.
           A. Yes.
           Q. All right. Was this person a witness
           against you?
           A. No.


     3
        Both parties assume, without comment, that this "witness"
is Escalara.

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          Q. Was this person a witness in something that
          was unrelated to your criminal activity?
          A. Yes.
          Q. Did you direct Billy Gomez and Eddie
          Mercado to kill this witness?
          A. Yes.
          Q. As a result of your directing Billy Gomez
          and Eddie Mercado to kill this witness, did
          they kill that witness?
          A. Yes.
          Q. Sir, have you had occasion to talk about
          that scheme with members of the FBI?
          A. Yes.
          Q. And are you presently cooperating in the
          investigation of that scheme to kill that
          witness?
          A. Yes.

(Trial Tr. vol. VI, 2055-56, Oct. 21, 2003.)         In addition, on

cross examination, Estrada explained that he ordered Escalara

murdered at the behest of his attorney:

          Q. With respect to that murder, at your
          direction, Billy the Kid went and killed a
          witness; right?
          A. Yeah.
          Q. That witness had nothing to do with any you
          were involved in?
          A. No.
          Q. Had nothing to do with any drug case?
          A. No.
          Q. Had nothing to do with you making any
          money, or anything like that?
          A. No.
          Q. Just doing a friend a favor?
          A. Yeah.

          . . . .

          Q. How did it come about you got involved in
          that murder?
          A. She was supposed to testify in a case my
          attorney was handling.
          Q. How does that affect you?
          A. My sister was having problems at that time,
          and when I went to the office, Jim Ruane

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       was working on the case.
       Q. Your sister's case?
       A. No, was working on the –
       Q. The case that involved the witness?
       A. That involved the witness.
       Q. Okay. So what does your sister's legal
       problems have to do with anything?
       A. I went to his office to see him about that,
       and he was working on that case.
       Q. Okay.
       A. And we got into a conversation about this
       witness that he had that was going to testify
       in his upcoming trial.
       Q. Okay. How does that affect you?
       A. It didn't affect me, it affected him.
       Q. So you went and had this person killed –
       A. Basically, yes.
       Q. – as a favor?
       A. Yes.
       Q. He certainly didn't ask you to do it?
       A. Yes, he did.
       Q. Now you're telling us that your lawyer at
       the time asked you to kill somebody so he
       could prevail in a totally unrelated case?
       A. Yes.
       Q. At any point, did you say to him, "Are you
       out of your mind?"
       A. No, I didn't.
       Q. What kind of case was that – wasn't even a
       drug case?
       A. What kind of case was what?
       Q. Your lawyer and the witness involved.
       A. It was a murder case.
       Q. So your lawyer was representing somebody in
       a murder case?
       A. Yes.
       Q. This person was a witness in that case?
       A. Yes.
       Q. Male or female witness?
       A. Female.
       Q. Old or young?
       A. Young.
       Q. You didn't know the Defendant in that
       murder case at all?
       A. No.
       Q. Had nothing to do with the case?
       A. No.


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          Q. You're telling us your lawyer wanted to win
          –
          A. He wanted to win.
          Q. – so you went out and had the witness
          killed?
          A. Yes, I did.

          . . . .

          Q. This lady gets killed and that's it?
          A. That's it.
          Q. No money involved?
          A. No money involved.

(Trial Tr. vol. VII, 2366-72, Oct. 22, 2003.)         Thus, to the

extent that Jones's motion simply claims that evidence of

Estrada's involvement in the Escalara murder is "newly

discovered," this extensive testimonial record belies that

argument and the motion for new trial based on the Mercado

affidavit is untimely.

     Further, even if the court considered Jones's motion timely

under Rule 33, this evidence does not provide a basis for

granting a new trial because the jurors heard other testimony

from Estrada himself that would cause them to consider his

testimony with great caution.     They heard, for example, testimony

regarding: Estrada's guilty plea to thirteen charges, including

racketeering, racketeering conspiracy, accessory after the fact

to murder in aid of racketeering, obstruction of justice, and

assault in aid of racketeering, (Trial Tr. 2014-20); his prior

criminal history, including his efforts to sell narcotics while

in prison by corrupting prison officials, (Trial Tr. 2001-12,


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2022-24); and his reputation for violence, including his

testimony that he earned his nickname, "The Terminator," by

"[h]urting people" and that he cultivated this reputation because

it was "good for business," (Trial Tr. 2024-27).             Jones's counsel

even rhetorically asked the jurors in closing argument about

whether they had "ever in [their] lives sat this close to the

embodiment of pure evil," referring to Estrada.          (Trial Tr.

2909.)

     In addition, Jones has not demonstrated how Mercado's

testimony on the tangential issue of Estrada's motive for the

Escalara murder could further discredit Estrada, who testified –

honestly or not – that he ordered a murder in the same way he

would hand out a gratuity.     (Trial Tr. 2367) (stating that when

counsel asked Estrada whether, in ordering Escalara murdered, he

was "[j]ust doing a friend a favor," he responded, "Yeah").)

Such "newly discovered" evidence is not a justifiable basis for a

new trial.   See, e.g., Sasso, 59 F.3d at 351 (finding that

evidence tending to impeach the numerical accuracy of a

witnesses' statements did not warrant a new trial because the

evidence was cumulative).

     Considering this mountain of impeachment testimony, the jury

had more than enough evidence to gauge the unreliability of

Estrada's testimony, and thus, the Mercado affidavit would simply

provide further impeachment of a witness whose testimony had


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already been discredited.     See, e.g., United States v. Tutino,

883 F.2d 1125, 1140 (2d Cir. 1989) (stating that "[e]vidence that

would be offered solely to further impeach a witness whose

character has already been shown to be questionable" does not

warrant a new trial under Rule 33).         For these reasons, the court

declines to order a new trial based on the Mercado affidavit.

     II.   Failure to Disclose Estrada's Prior Testimony

     As an alternative ground for a new trial, Jones argues that

the government failed to turn over Estrada's prior testimony from

the trial of Estrada's co-defendants in another case.             In support

of his claim that the prior testimony was withheld, Jones relies

on United States v. Estrada, 430 F.3d 606, 622 (2d Cir. 2005),

where the Second Circuit stated that "Estrada also testified that

he had agreed to cooperate in this case in part so that his

sister would not be charged with murder."          At Jones's trial, the

government entered Estrada's cooperation agreement into evidence

and questioned Estrada as to his understanding of that agreement.

In response, Estrada testified it meant that he would not "get

anything in particular in exchange for [his] cooperation."

(Trial Tr. 2153.)    Jones now argues that Estrada's conflicting

prior testimony, as described by the Second Circuit, would have

been relevant and important evidence that he could have used to

impeach Estrada's testimony about his cooperation agreement.                  The

government responds that it turned over Estrada's prior testimony


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and that, in any event, that prior testimony could have only

served as cumulative impeachment, which does not warrant a new

trial.   The court agrees.

     "A new trial is warranted under Brady v. Maryland, 373 U.S.

83 (1963), . . . where (1) 'the government failed to disclose

favorable evidence, and (2) . . . the evidence it 'suppressed'

was material."   United States v. Wong, 78 F.3d 73, 79 (2d Cir.

1996) (quoting United States v. Payne, 63 F.3d 1200, 1208 (2d

Cir. 1995)).

     The testimony that was described in the Second Circuit's

opinion was given by Estrada at a trial in March and April of

2002, one year before Jones's trial took place.              Therefore, the

government does not contest that it had an obligation to turn

over this prior testimony to Jones before his trial under Brady

and the Jencks Act, 18 U.S.C. § 3500.       See Wong, 78 F.3d at 79;

Payne, 63 F.3d at 1210 (citing United States v. Bagley, 473 U.S.

667, 676 (1985)).    While the government represents that Jones

"was provided with Estrada's criminal history record, grand jury

testimony, prior trial testimony, and a[] FBI 302 report of

interview," (Opp'n to Mot. for New Trial at 5), Jones contends

that he did not receive this specific prior testimony.4              Based on


     4
        This factual dispute prevents the court from denying
Jones's motion, as the government suggests, as untimely. If the
court assumes that the government did not turn over this prior
testimony, then Jones's motion would be timely based on newly
discovered evidence under Rule 33.

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the present record, the court cannot resolve this factual

dispute.

     Nevertheless, the court need not hold a hearing to resolve

this factual dispute because, even if the government did not turn

over this prior testimony, it is not material, as required for a

new trial under Brady.      Cf. United States v. Wallach, 935 F.2d

445, 457 (2d Cir. 1991).      "Evidence of impeachment is material if

the witness whose testimony is attacked supplied the only

evidence linking the defendant(s) to the crime, or where the

likely impact on the witness's credibility would have undermined

a critical element of the prosecution's case."          Wong, 78 F.3d at

79 (citations and quotations omitted).        "However, new impeachment

evidence is not material, and thus a new trial is not required

when the suppressed impeachment evidence merely furnishes an

additional basis on which to impeach a witness whose credibility

has already been shown to be questionable."         Id. (quotations

omitted).   "In sum, a new trial is warranted only if the evidence

is material, noncumulative, and would probably lead to an

acquittal."   Id. (quotations omitted).

     Estrada's prior testimony is not material under Brady

because the jury heard ample evidence demonstrating Estrada's

bias.   For example, Jones's counsel thoroughly cross-examined

Estrada about his cooperation agreement and the fact that,

although he had pleaded guilty to thirteen federal charges in


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2002 without any explicit promise from the government, (Trial Tr.

2016-22), he had not yet been sentenced and therefore stood to

benefit from a 5K motion for his "performance" on the stand:

          Q. Mr. Estrada, you don't mean to suggest that
          your deal with the Government requires that
          you serve a life sentence, do you?

          . . . .

          A. I'm not suggesting anything.

          . . . .

          Q. There is no guaranteed sentence that you're
          going to get out of this deal, is there?
          A. There's no guarantees.
          Q. You could get a 10-year sentence; right?
          A. That's possible?
          Q. You can get a life sentence?
          A. That's possible, also.
          Q. You're not going to be sentenced until
          you're through cooperating with the Federal
          Government?
          A. I believe so. I don't know when they're
          going to sentence me.
          Q. Well, you haven't been sentenced yet.
          A. No.
          Q. Your performance – the extent to which you
          cooperate is a factor that's going to help
          determine your sentence; right?
          A. I don't understand what you mean by
          "performance."
          Q. Maybe that was the wrong word.
          A. Yeah.
          Q. Your willingness to testify on behalf of
          the Government against other people is a
          factor?
          A. That's part of my Cooperation Agreement to
          do that.

          . . . .

          Q. Does your agreement provide that if the
          Government determines that you have provided
          substantial assistance in the prosecution of

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          another person, the Government will file a
          motion on your behalf?
          A. Yes, that's in the Cooperation Agreement.
          Q. That's the deal?
          A. Yes.
          Q. That determination is made solely by the
          prosecution; right?
          A. Yes, I believe so.
          Q. Your lawyer has nothing to do with that;
          right?
          A. No.
          Q. Should they not file that motion for you,
          there's nothing you can do about that?
          A. No.
          Q. So your relationship with the Government is
          one of some mutual dependency?
          A. Yes.
          Q. It's a performance-oriented agreement;
          right?
          A. I just get over here and tell the truth.
          Q. All right.
          A. If you want to say that's performance-based
          –
          Q. There's no question that your hope is to
          receive a sentence considerably less than life
          in jail?
          A. Absolutely.

(Trial Tr. 2223-27.)

     Jones's counsel further elicited testimony that Estrada

still faced possible indictment for the Escalara murder, thereby

implying that Estrada testified to please the government and

avoid indictment, even though he stated – perhaps falsely – that

he had not been explicitly promised anything in return for his

testimony against Jones:

          Q. Of all of the charges that you have entered
          guilty pleas to, any of them relate to this
          [Escalara] murder?
          A. No.
          Q. Anybody tell you that that's not considered
          to be a federal offense?

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          A. No.
          Q. You have not been charged with the so-
          called VICAR offense in connection with that
          murder?
          A. No.
          Q. You don't expect to be, do you?
          A. No, I'm expected to plead guilty to that
          offense.
          Q. Not in the Federal Court though; right?
          A. I believe it's in the Federal Court, it's
          my understanding.

          . . . .

          Q. This murder was never included in that?
          A. Not in that indictment, no.
          Q. Is there any other indictment I'm not aware
          of about that?
          A. None that I am aware of. I know the
          Government is working on a case.
          Q. But that's something that sort of hangs
          over you?
          A. Yeah.
          Q. In all probability, you understand that
          will be resolved in the State Court system?
          A. I'm not aware of that.
          Q. All of that turns on the resolution of your
          cooperation in connection with this case and
          others. When that's all done, then we'll deal
          with that murder case?
          A. That case is in investigation right now.
          Q. There isn't a whole lot to investigate.
          You're telling us you did it, you were
          involved in it; right?
          A. Yes, right.
          Q. Is there anything else to investigate that
          you know of?
          A. No, not really.
          Q. It's done?
          A. Yes, it’s done.

(Trial Tr. 2372-75.)

     In addition to testifying about his bias and possible motive

to lie, Estrada testified extensively about matters undermining

his veracity.   Aside from testifying about his extensive history

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of criminality, he also testified on cross examination that he

met with FBI agents between thirty and thirty-five times to

prepare his testimony, and Jones's counsel elicited testimony

suggesting that Estrada would tailor his testimony to

confidential DEA reports of interview, which he had access to

prior to testifying against Jones.       (Trial Tr. 2254-57.)

     Moreover, in closing argument, Jones's counsel took aim at

Estrada's bias and veracity by suggesting that "[h]e didn't cut

this deal to spend the rest of his life in jail;" that he must

have forfeited over $10 million in assets to the government in

exchange for some expectation of leniency; and that he was

essentially duping the government with well-crafted lies in order

to save himself from life in prison while ensuring that Jones,

his former rival, would get convicted of a crime carrying a

punishment of life imprisonment.      (Trial Tr. 2909-11.)

     Thus, further impeachment with the prior testimony described

in the Second Circuit opinion would be "merely minor, cumulative

additions to the massive mound of discredit heaped upon [the

witness] over several days of both direct and cross-examination."

Wallach, 935 F.2d at 456.

     An additional reason denying Jones's motion for a new trial

is that Estrada's testimony was not the only evidence that

supported Jones's conviction.      See Wong, 78 F.3d at 79.

Although, Jones claims that Estrada was the only government


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witness to link him to the D-Top conspiracy,5 the record shows

that the government produced independent and overwhelming

evidence that Jones was involved in drug distribution operations

at D-Top, even though his brother, Leonard, headed the day-to-day

operations.   (See, e.g., Trial Tr. 290, 686-88, 1364, 1477-81,

1627, 1746, 1896, 1917-19.)      For example, one of Jones's

lieutenants testified that he opened fire on rival gang members

who were selling drugs at D-Top in order to protect the

enterprise's turf, indicating that, although his brother's

organization managed the day-to-day operations at D-Top, Jones's

organization helped control the area.       (Trial Tr. 293-93.)        In

addition, three other witnesses testified that Jones helped

murder rival gang member, Anthony Scott, because Scott allegedly

shot Jones's brother, Leonard, following a dispute over narcotics

sales in D-Top.    (Trial Tr. 1507-09, 1709-10, 1714-19, 2407-13,

1750-59.)6



     5
        At Jones's trial, Estrada testified, among other things,
that he and Jones's brother, Leonard, divided D-Top between their
two organizations and that Estrada supplied Jones with high
quality cocaine, which Jones gave to Leonard to sell in D-Top.
     6
        Jones also argues that Estrada's testimony provided the
only evidence supporting an element required for conviction under
RICO that the activities of the enterprise affect interstate or
foreign commerce. See 18 U.S.C. § 1962(c). Aside from Estrada's
testimony, however, the jury heard testimony from Manuel
Hinojosa, a cooperating witness, that another member of the
enterprise drove to New York to buy drugs for sale at P.T. Barnum
in Bridgeport, Connecticut. (Trial Tr. 2848-49.) Therefore,
there is no merit to this argument.

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     Thus, because the jury heard extensive evidence

demonstrating Estrada's bias and undermining his veracity and

because independent evidence supported Jones's conviction, the

government's alleged failure to disclose the prior testimony

cited in the Second Circuit decision is not material under Brady,

and therefore, does not warrant a new trial.

     III. Use of Estrada's Perjured Testimony

     Relying on the same prior testimony mentioned by the Second

Circuit in Estrada, 430 F.3d 622, Jones argues that he is

entitled to a new trial because Estrada perjured himself when he

testified that he would not "get anything in particular in

exchange for [his] cooperation."      (Trial Tr. 2153.)        Even

assuming that Jones could demonstrate that Estrada perjured

himself based on the statement in the Second Circuit's decision,

the court finds that this perjured testimony would not warrant a

new trial.7

     In order for Jones to prevail on his motion for new trial

based on perjured testimony, he must establish that: (1) the



     7
        The record is insufficient for the court to determine
whether Estrada's conflicting prior testimony indicates that
Estrada perjured himself at Jones's trial. The court notes,
however, that Jones misquotes the language of the Second Circuit
decision by omitting the phrase "in this case," which indicates
that the agreement concerning his sister related to Estrada's
testimony against his co-defendants, not Jones. (Def.'s Memo. in
Support of Mot. for New Trial at 9 (quoting the opinion as "he
had agreed to cooperate in part, so that his sister Francis
Estrada (Francis) would not be charged with murder."))

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government's case included perjured testimony; (2) the government

knew, or should have known, of the perjury; and (3) there is a

reasonable likelihood that the result of the trial would have

been different.    United States v. Torres, 128 F.3d 38, 48-49 (2d

Cir. 1997).

     Assuming for the purpose of deciding this motion that

Estrada's testimony was perjured and that the government knew, or

should have known, of the perjury, there is no reasonable

likelihood that the judgment of the jurors would have been

different if they knew that Estrada's testimony was perjured

because, as discussed above, Estrada's alleged perjury did not

relate to Jones's guilt or innocence, only Estrada's credibility;

Estrada was significantly impeached; and his testimony was

corroborated by other witnesses.      See Wong, 78 F.3d at 82

(declining to order a new trial based on perjured testimony where

the witness was already impeached at trial and independent

evidence supported the conviction); Wallach, 935 F.2d at 457

(declining to order a new trial based on perjured testimony where

the witness was already impeached at trial and the perjury "did

not bear on the defendants' guilt or innocence only on

[witness's] credibility").

     For there reasons, the court declines to order a new trial

because of Estrada's alleged perjury.




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                               CONCLUSION

     For the foregoing reasons, Jones's motion for new trial

[dkt. # 2110] is DENIED.

     SO ORDERED this 1st day of October 2007, at Bridgeport,

Connecticut.


                                                     /s/
                                         Alan H. Nevas
                                         United States District Judge




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